Exhibit 22
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                                                              ,                                   --.
           1                UNITED STATES DISTRICT COURT      \
                                                              \    "-'
                                                                  ~"",,-....   ,\",
                                                                                      --­   t_l
           2                     DISTRICT OF CONNECTICUT

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           4       ------------x
               THE ESTATE OF RAYLYN GEORGE, :
           5             Plaintiff,

           6               va.

           7   BRIDGEPORT POLICE OFFICERS
               LUIS BATISTA, HUGE TOBIN,             June 29, 2009
           8   AND JOHN DOE 1, JOHN DOE 2,
               (IN THEIR OFFICIAL AND
           9   INDIVIDUAL CAPACITIES) AND
               CITY OF BRIDGEPORT,
        10               Defendants.
               - - - - - - - - - - - - - - x
,   ­   11

        12

        13                DEPOSITION OF CHRISTOPHER MARTIN

        14

        lS

        16         Taken before Ellen S. Walsh, LSR #162, Court
                   Reporter and Notary Public within and for the
        17         State of Connecticut, pursuant to Notice and
                   the Connecticut Practice Book, at the offices
        18         of Tina Sypek D'Amato, 135 Elm Street,
                   Bridgeport, Connecticut, on Monday, June 29,
        19         2009, commencing at 4:51 p.m.

        20

        21

        22                COMPUTER REPORTING SERVICE, LLC
                            Licensed Shorthand Reporters
        ::!3                     1 Grandview Terrace
                             North Haven, CT 06473 2043
        24                          (203)234-1144

                                 COMPUTER REPORT:NG SERVICE
                                                              2




,--....
            1   A P PEA RAN C E S:

            2       For the Plaintiff:

            3            TINA SYPEK D'AMATO, ESQ.
                         135 Elm Street
            4            Bridgeport, Connecticut 06604

            5

            6       For the Defendants:

            7            NOBLE, SPECTOR & O'CONNOR, P.C.
                         One Congress Street
            8            Hartford, Connecticut 06114-1067
                                By: ELLIOT B. SPECTOR, ESQ.
            9

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          ::n
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                             COMPUTER REPORTING SERVICE
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-"",,.


           1   believe he was on Columbia.

           2        Q     Okay.     So you got out of your vehicle?

           3        A     Yes.

           4        Q     And you started walking down Park Terrace?

           5        A     Yes.

           6        Q     And on the right-hand side, you heard some

           7   kind of shots?

           a        A     To my right I heard shots.

           9        Q     And that's 103-105 Park Terrace,

          10   approximately?

          11        A     I guess so.     I don't know.

--   "­
          12        Q     About three houses down?

          13        A     Two or three houses up, yeah.

          14        Q     All right.     And as a result, you wanted to

          15   take cover?

          16        A     I did.

          17        Q     So you got behind your vehicle?

          18        A     I ran to Speranza's vehicle, Blue 12, and

          19   retrieved a shotgun right out of that car.

          20        Q     So you got a shotgun from Officer Speranza's

          21   vehicle?

          22        A     Yes.

          23        Q     And tnen you ducked beh1nd -­

          24        A     I got -- I went behind my car.

                                  COMPUTER REPORTING SERVICE
                                                                     8




 1        Q       Behind your car?

 2        A       Blue 13, both marked police vehicles.

 3        Q       Okay.      And at some point you started walking

 4   back up Park Terrace?

 5        A       I   did.

 6        Q       And then you -­

 7        A       Taking -- what's the correct terminology?

 8   Concealment and cover.

 9                        MR. SPECTOR:   Concealment and

10                cover.

11   BY MS. D'AMATO:

12        Q       Okay.      So you were covering yourself?

13        A       No.     Just -- I was walking at a

14   concealment meaning I was going very slow and low with

15   the shotgun.

16        Q       Okay.      And why were you going in that

17   direction?

18        A       Because that's where the bad guy was.

19   That's what we're trained to do.

20        Q       Okay.      So you knew somebody was over there?

21        A       Yes.

22        Q       You weren't sure who shot those shots,

23   though,   ri~ht?


24        A       No.

                          COMPUTER REPORTING SERVICE
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--    1        o    And you were chasing a bad guy.      Do you know

      2   where he was?

      3        A    Well, there were shots coming near the

      4   houses, so I guess it was right around there.

      S        o    Did you ever make it to that house?

      6        A    No.

      7        o    And you heard over the radio some

      8   instructions to go to Gregory Street?

      9        A    I'm just trying to remember.     There was some

     10   radio traffic.     There was a lot of radio traffic,

     11   people stepping on each other.     I continued down south

     12   towards -- on Columbia.
-"
     13        Q    And on the corner of Park and Columbia,

     14   there's a big, empty, overgrown lot?

     lS        A    Yes.

     16        Q    And so you're -- you walked -­

     17        A    Walking south.

     18        o    --    down Park Terrace towards Columbia

     19   Street?

     20        A    I never actually physically made it onto

     21   Park Terrace, I believe.     I just continued south

     22   towards Columbia.

     23        Q    GkdY.     So you were going south towards

     24   Columbia from PaLk Terrace?     You were going towards

                            COMPUTER REPORTING SERVICE
                                                                                10



·--.
          1   Gregory Street, which is parallel?

          2        A    Yeah.     I was probably like 10 feet -- I mean

          3   10 yards from my car at an angle.

          4        Q    So you were still on the corner?

          5        A    Yes, on the corner.

          6        Q    Now, you said that when you were on Columbia

          7   Street, you looked to your left and you could see

          8   Officer Batista in the backyard?

          9        A    I did.     Behind the house.

         10        Q    What did you see in the backyard?

         11        A    I   saw him standing there alone.

         12        Q    Alone.     Okay.       And did you see the suspect
.­
     "
         13   at all?

         14        A    No.

         15        Q    And did you stay there or did you just

         16   go straight -- did you stay and look at

         17   Officer Batista and wait for something or did you just

         18   go to Columbia Street -- I mean Gregory Street?

         19        A    I   began walking, toward turned to my left,

         20   and saw Officer Batista.          I   might have turned towards

         21   him, and I came back.        I   believe the radio traffic

         22   picked up again that there was another suspect being

         21   chased    30meth.Lng.

         24        Q    Now, when you arrived at Columbia and Park

                                COMPUTER REPORTING SERVICE
Exhibit 23
                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


THE ESTATE OF RAYLYN GEORGE,
     Plaintiff.

v,                                                         3:08cv1023 (VLB)

BRIDGEPORT POllCE OFFICERS, LUIS
BATISTA, HUGE TOBIN and JOHN DOE I,
!OHN DOE 2 and CITY OF BRIDGEPORT,                         SEPTEMBER 16, 2009
     Defendants.


      DEFENDANT CITY OF BRIDGEPORT'S RESPONSES TO PLAINTIFF'S
     REQUEST FOR ADMISSIONS TO CITY OF BRIDGEPORT DATED 8/25/09

1    At all relevant times, the individual Defendants acted toward Plaintiff in accordance
     with the training and supervision received by the Brtdgeport Police Department.

ANSWER:     ADMIT.

2.   At all relevant times, the individual Defendants acted toward the Plaintiff in ~
     with a custom, policy or practice of the Bridgeport Police Department.          :

ANSWER:     ADMIT.

3.   At all relevant times, all officers, supervisors and. or detectives involved in this
     incident, both in uniform and in plain clothes, acted toward Plaintiff in accordance witll
     the training and supervision received by the Bridgeport Police Department.

ANSWER:     ADMIT.

4.   At all relevant times. all officers, supervisors and or detectives involved in this
     incident. both in uniform and in plain clothes. ac..1ed'toward the Plaintiff in accordance '
     with a custom. policy or practice of the Bridgeport Police Department.

ANSWER:     ADMIT.

5.   Defendants were not disciplined as a result of their actions during the above named
     incident.

ANSWER:     ADMIT.
6.   No officer. supervisor or d tective. in plain clothes or unifonn. present at the scene
     were disciplined for their dons during this incident.

ANSWER:     ADMIT.

                                                  DEFENDANT: City of Bridgeport



                                          By:      g          ~
                                                         Ell~t:Spector
                                                         Fedenil Bar #Ct05278
                                                         Noble. Spector & O'Connor, PC
                                                         One Congress Street
                                                         Hartford.. CT 06114
                                                         860-525-9975
                                                         Fax: 860-727-9915
                                                         spector@nsyolaw.com
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                             Exhibit 24
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                 UNITED STATES DISTRICT COURT       ((~ «~ Fa ;"." .
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                                                    ___   ....-1/'   .


 2                     DISTRICT OF CONNECTICUT            -          I

 3
 4       ____________ x

     THE ESTATE OF RAYLYN GEORGE, :
 5             Plaintiff,

 6               vs.

 7   BRIDGEPORT POLICE OFFICERS
     LUIS BATISTA, HUGE TOBIN,              June 29, 2009
 8   AND JOHN DOE 1, JOHN DOE 2,
     (IN THEIR OFFICIAL AND
 9   INDIVIDUAL CAPACITIES) AND
     CITY OF BRIDGEPORT,
10             Defendants.
     - - - - - - - - - - - - - - x
11

12

13                     DEPOSITION OF SEA-V RONAN

14

15

16        Taken before Ellen S. Walsh, LSR #162, Court
          Reporter and Notary Public within and for the
17        State of Connecticut, pursuant to Notice and
          the Connecticut Practice Book, at the offices
18        of Tina Sypek D'Amato, 135 Elm Street,
          Bridgeport, Connecticut, on Monday, June 29,
19        2009, commencing at 3:16 p.m.

20

21

22               COMPUTER REPORTING SERVICE, LLC
                   Licensed Shorthand Reporters
23                      1 Grandview Terrace
                    North Haven, CT 06473-2043
24                          (203)234-1144

                       COMPUTER REPORTING SERVICE
                                                                           10




        1   regarding a police-related shooting and the

        2   limitations of police officers?

        3          A   I don't understand thE! question.

        4          Q   Everybody says that.       I don't know.   Is it

        5   a -­

        6          A   I don't.

        7          Q   That's okay.

        8                      MR. SPECTOR:    I don't either.

        9   BY MR. SPECTOR:

       10          Q   Are there any limitations for Bridgeport

       11   police officers when one of their own is suspected in

       12   a shooting?

'--­   13                      MR. SPECTOR:    I will object to

       14              that.

       15          A   I don't believe so.       I'm not sure, ma'am.

       16   BY MS. D'AMATO:

       17          Q   You believe so?

       18          A   Yeah.     No, I don't believe so.

       19          Q   You don't believe?

       20          A   No limitations as inasmuch as -- can you

       21   expound on that?

       22          Q   Sure.    Are officers in the Bridgeport Police

       23   Department limited to.     say,   cordoning off the scene or

       24   speaking to witnesses after one of their colleagues

                               COMPUTER REPORTING SERVICE
                                                                                11




            1    has been suspected of shooting another person, a

             2   suspect?

             3          A    I think if a police officer is approached by

             4   a witness, they'would have to, you know, provide that

             5   information to the investigators.

             6          Q    Okay.     Okay.   I guess my question is, do you

             7   think it's appropriate that you drove Officer Batista

             8   to his house after he was involved in a police-related

             9   shooting?

            10          A    Sure.

            11          Q    If you knew that he was a suspect in a fatal

            12   shooting, do you think it was appropriate for you to

.....   ~
            13   drive him to his house?

            14          A    Sure.

            15          Q    And if you knew that he was a suspect in a

            16   fatal shooting, would you think it's appropriate for

            17   you to go to collect his evidence?

            18          A    Yes.

            19          Q    Do you think that when a -- what do you

            20   think the purpose is for the sitate police coming to

            21   the scene and investigating?       What do you think the

            22   purpose is of that?

            23          A    To have an outside agency investigate the

            24   act.

                                     COMPUTER REPORTING SERVICE
                                                                    12




 1        Q    Okay.     And how come?

 2        A    For impartiality.

 3        Q    So when you say impartiality, you're saying

 4   that the Connecticut State Police would be impartial

 5   to whatever happened at the scene?

 6        A    Yes.

 7        Q    And that maybe Bridgeport police officers

 8   would not be so impartial?

 9        A    I think there's a concurrent investigation

10   that runs through our detective bureau also, in our

11   internal affairs, through internal affairs.

12        Q    Okay.     But internal affairs is not regulated

13   by the chief of police or the Bridgeport Police

14   Department?

15        A    Yes and no.        That's something for another

16   day, I guess.     No.     They come under the special master

17   in New Haven and the board of police commissioners.

18        Q    Yes.

19        A    So they conduct an investigation also.

20        Q    Right.        But they don't answer to the chief,

21   they don't answer to -­

22        A    Technically, I guess they kind of do answer

23   still to the chief because the chief can order an

24   investigation.     And that's what I mean, that's a

                       COMPUTER REPORTING SERVICE
                                                                  13




 1   battle for another day,    I think.

 2        Q    Okay.     But there's a reason why the -­    you

 3   said that the state police arrive on scene so that

 4   there's impartiality?

 5        A    Yes.

 6        Q    And you were a membe:r:- of T. N. T.?

 7        A    Yes, ma'am.

 8        Q    A colleague of Officer Batista?

 9        A    Yes.

10        Q    You worked with him sometimes?

11        A    Yes.

12        Q    And do you think that -- and I'm not talking

13   about you personally.

14        A    Okay.

15        Q    But do you think that a colleague of a

16   police officer would be less partial than the state

17   police, for instance

18                     MR. SPECTOR:   Object to the form.

19   BY MS. D'AMATO:

20        Q    -- would be more partial?

21        A    No.     I think we're sworn to uphold, you

22   know, the law,    so that's what we have to do.   You have

23   to remove yourself from it and be impartial.

24        Q    Okay.    And do you think that all Bridgeport

                       COMPUTER REPORTING SERVICE
                                                            14




1   police officers are impartial?

2        A    I'd like to think we are.

3        Q    But do you think you are?

4        A    I know I am.   I can only speak for myself,

5   so

6        Q    Do you think that police officers are more

7   honest than other people?

8        A    I know I am.
                                                                                        14




               1   police officers are impartial?

               2           A     l'd like to think we are.

               3           Q     But do you think you are?
         II
         I     4           A     I know I am.      I can only speak for myself,
         I
         I
         I     5   so
         i
         I     6           Q     Do you think that police officers are more
         I         honest than other people?
               7

         II    8           A     I know I am.
         I
               9           Q     But do you think police officers in general,

              10   because they wear a badge and a gun, are more honest

              11   than other people?

              12           A     Yes.

'-   .        13           Q     And why?

              14           A     Because l'm a police officer.

              15           Q     Okay.       Do you think it was appropriate for

              16   Officer Batista or do you think it would be

              17   appropriate if Officer Batista washed his hands after

              19   a police-related shooting where he was a suspect?

              19           A     I'm not sure.

              20           Q     Why?

              21           A     I   don'~   know all the investigative

              22   scientific stuff, but I know it shows GSR, and he's

              23   never    denie~    firing ilis gun.   so chere's   GSR.   And, you

              24   know -      I mean, he said it himself.      that he shot his

                                         COMPUTER REPORTING SERVICE
Exhibit 25
                                                                                               1




          1                          UNITED STATES DISTRICT COURT

          2                                  DISTRICT OF CONNECTICUT

          3

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                   _ _ _ _ _ - - - - - - - x
               THE ESTATE OF RAYLYN GEORGE, :
           5             Plaintiff,

           6                        vs.

           7   BRIDGEPORT POLICE OFFICERS
               LUIS BATISTA, HUGE TOBIN,                                       June 29, 2009
           8   AND JOHN DOE 1, JOHN DOE 2,
               (IN THEIR OFFICIAL AND
           9   INDIVIDUAL CAPACITIES) AND
               CITY OF BRIDGEPORT,
          10             Defendants.
               _ _ -    -   -   -    -   -    -   -   -    -   -   - x
          11

          12

--        13                        DEPOSITION OF LEONARD SAMATULSKI

          14

          15

          16           Taken before Ellen S. Walsh, LSR #162, Court
                       Reporter and Notary Public within and for the
          17           State of Connecticut, pursuant to Notice and
                       the Connecticut Practice Book, at the offices
          18           of Tina Sypek D'Amato, 13S l::lm Street,
                       Bridgeport, Connecticut, on Monday, June 29,
          19           2009, commencing at 2:36 p.m.

          20

          21

          22                        COMPUTER REPORTING SERVICE, LLC
     ~
                                      Licensed Shorthand Reporters
     ~    23                               1 GrandvIew Terrace
                                       North Haven, CT 06473-2043

     ,
     i,   24                                              (203)


                                         COMPUTER REPORTING SERVICE
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        1   don't -- do you think that that would violate this
'--­
        2   protocol?

        3          A    No.

        4          Q    Okay.     Do you think it would violate the

        5   protocol for the suspect officer to wash his hands

        6   before he was tested for gunshot residue?

        7          A    To what?

        8          Q    To wash his hands.

        9          A    Protocol or -- you lost me on that one again

       10   too.

       11          Q    If a police officer is suspected of shooting

       12   someone and there's a fatality as a result, do you

       13   think it's appropriate that he wash his hands before

       14   he's tested for gunshot residue?

       15          A    Do I think it's appropriate?        No, I don't.

       16          Q    Okay.     And again, looking at this protocol,

       17   just one more question:       Do you think it's appropriate

       18   that the suspect officer and his friend that works in

       19   the same department as he collect his evidence for him

       20   and bring them to the headquart!:rs where the state

       21   police are located?

       22                       MR. SPECTOR:   Objection.   Asked and

       23               answered.

       24          A    I don't think that's inappropriate.

                              COMPUTER REPORTING SERVICE
                                                                  17




     1   BY MS. D'AMATO:

     2        Q    You don't?

     3        A    No, I don't.

     4        Q    And again, you don't think that affects the

     5   integrity of the investigation?

     6       A     No, I don't.

     7       Q     Because police officers are more credible

     8   than other people?

     9       A     Yes, that's correct.

 10                        MS. D'AMATO:   No further questions.
11                 Mr. Spector?

12                         MR. SPECTOR:   No questions.
13                         (Deposition concluded:   2:55 p.m.)
14

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                      r.OMPUTER REPORTING SERVICE
Exhibit 26
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Paper Trial
 The curious emergence of documents relating to the death of Bridgeport youth                                                                   RaYIYn George
       By LOft'8Ine Gtmgo



e...
       iter siA uoOnth> of a......"'lIfiIn<:e5 that the city had no docu­
       menls concerning the shooting death of ~ black Bridge­
       port youth that may or ~. not ha,,"e invol,\'ed a city cop.
       i!J1d after <Jeeking to censu.-e the attomey who had pe­
       t::tioned under the Ff~edom of Information
       ;iocu~ts.
                                                          _'ct
                    Bridgeport a5sodate city attorney Melanie
                                                                  for said
                                                                             tailing that aad: cocaine was confiscated at the !«'ne,
                                                                             and two injury reports related to police- officers.
                                                                                Tc- recap: On Aug. 25, 2005, the ~ police
                                                                             Taclical Nar.:otics ream (TNT) R!CI!i\oed a tip that !le\"en
                                                                             young men armed with guns had amgTegated at Mari­
                                                                             na \'illag!', a hoosing project in Bridgeport's South End.
                                                                                                                                                and a~ his ear and exited *abO\i!' hi~ lett <"\.: and jt;,.i
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                                                                                                                                                  The person most likely !o l-..ave \\itm:s;:cd Ih.. t:uth
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                                                                                                                                                dent, or a suicide as the stale's atlo.T'k'Y·' rep,:-rt imFheJ
                                                                                                                                                or by !!0Illt' other means-is cffi(eI louis Baf!sta
       J-Howlett :as.t Monday produced 21 rages of papern'Dlk                11\11 officer Louis Batista chased one of them, Ra)iyn               But Batista's iKc()Unt of what happe:\ed c·n Aug_ 25_
       rclating to the Aug_ 25, 2005 shooting.                               George. tMO'Jgh the strms and backyards of the neigh­              2()]S is nol part or the publk r.!'coru_ "or is it krhY,....'
          Howle!! located the do..."'Umems in the archi\~ of                 borhood. according to tltl' officers' report5 that H'OIo,iert      whQ has the reporn he pn"S".nnably ti.1~ on ;.:
       Ihc Wes1 Side precinct just i.n time to meet the Feb. 12              rel!'ased last ",-eek. Batista fired .seYIel:al shots at George,   after thi)! day.                    ­
       deadline se-t by the !!tate's freedom of InfOItIl3li.on Com·          who. .according to po~ witnesses, "'<1$ armed. One po­                Attorney Weinstein allege'S thai t'ndgt'pvr; r.,:lke
       mission. At the commission hearing an Jan. 18, Ho\'\-Ttt              iice "itness said he hend Batista scream cut "Drop the             covered up the shootmg by a.l\ctwir.g Batista I.,) lc~~'c th",
       testified that the city had no documents related to the                weapon. Drop it now l " before pursuing GE'Orge bE:hind a         scene in order to dean gunst'tot res;,;!uc from 11.:, hclnd"
       shooting of Rayl}"ll George-a point sh.e stressed repeat­              house--where George died.                                         Weinstein charge!" that the residue mil~hl ha\-e ~h':"\':l
       edly-because the Connecticut !!tate police. and not                      Ai1ef the stall! police and the statt- Depat'tment of           tl-..at Batista shol George with his 0\'-'11 ~n_ EJil,lil-S
       ttw BridgEpOrt PD. conducted the in"\'f'Stigation. "We                 Public Safety conducted their irwestigation. the stare's          hands. tested negative for g-,mshot r~iJue. i!(i_("-~'ling
       do not k1l!e'f1 a r:Iupl.i;:l.te file and                                                                                                                        to the !'tate's a:'Gm~y<s rep,Jrt. a
       thE: bre.adt.h of the im~tigation                                                                                                                                curiC'Us result given tnl' [d,t thai
       ",-a s '~-1::hin their department.-                    i.'My opinion is not Important.                                                                           he adrr.itted tf' fi.Ill'1g hI' w<:J.F'")]"1
        Howiett toid hearing ·~fficer ~!ary                                                                                                                             sevetal time!' du:mg the cilasc                         to
        E. Sd1'I\"ind.                                11Ie questions need to ... asked of the state                                                                        "\'eir.st1!!in's dogged pelslstenCf                  )f

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ing she had emfhaticallyinsisl:ed 3.id oot emt. H()\o\.-Iett                                                            attorney';, 'Mice \ssue.d a report exonerating Batista. stat­                           George's deatll led dty ati.:Jffit:\·I/()'Iddl I,) hk! a motion
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                                                                          317 F.Supp. 869 (1970)

                                                               Wilson Ruiz ARROYO, Plaintiff,
                                                                                         v.
                                                           Joseph A. WALSH et at, Defendants.

                                                                              Civ. A. No. 13100.

                                                          United States District Court, D. Connecticut.

                                                                                  July 8, 1970.

              870         *870 Burton M. Weinstein, Saltman, Weiss, Weinstein & 1:I5On, Bridgeport, Conn., for plaintiff.

                          Frank Edward Babycos, Bridgeport, Conn., for defendants.

                          MEMORANDUM OPINION AND ORDER
                          LUMBARD, Chief Judge:1:1

                          Wilson Ruiz Arroyo brings suit under 42 U.S.C. §§ 1981. 1983, 1985, 1986 and 1988 against
                          Anthony Vida, John Lorenzo, Anthony Tom, Donald Murray and Robert Moore, police officers
                          of Bridgeport; the Mayor of Bridgeport, the Superintendent of Police and six police
                          commissioners of the City, charging them with violation of his civil rights. More specifically he
                          alleges that when he was arrested on the night of September 18, 1968, after driving at 45
                          miles per hour through a stop sign and colliding with another car, Officers Vida and Lorenzo
                          beat him with their fists and with a stick, breaking his nose and causing severe pain and
                          suffering.

                          On all the evidence I must conclude that Vida and Lorenzo used excessive force and I direct
                          entry of judgment against them in the sum of $2,500. See Monroe v. Pape, 365 U.S. 167. 81
                          S. ct. 473. 5 L.Ed.2d 492 (1961); Nesmith v. Alford, 318 F.2d 110 (5th CjL 1963); Stringer v.
                          Dilger. 313 F.2d 536 (10th Cir. 1963). As to the other defendants the complaint is dismissed.
                          There has been no showing that the Mayor and the Police Superintendent improperly trained
                          the police or acquiesced in the denial of Arroyo's civil rights. Nor does the complaint make
                          sufficient allegation and showing to support the plaintiffs prayer, as a representative of Puerto
                          Ricans in Bridgeport, that a receiver be appointed to process complaints regarding police
                          treatment of Puerto Ricans. See Powell v. Workmen's Compo Board. 327 F.2d 131 (2 Cir.
                          1964); Valley v. Maule. 297 F. Supp. 958 <0. Conn. 1968).

                         It is now well established that local law enforcement officers who act under color of state law
                         and who use excessive force in the enforcement of state laws are subject to civil liability under
                         § 1983 as thereby they deprive those so injured of rights guaranteed by the Constitution and
                         laws of the United States. See Monroe v. Pape, supra; Bralzier v Cherry, 293 F.2d 401 (5th
                         Cir.), cert. denied. 368 U.S. 921, 82 S.Ct. 243. 7 L.Ed.2d '136 (1961): Hardwick vcJjurley.
                         289 F.2d 529 (7th Cir. 1!J61); Coleman v. JohnstQDL~47' F.~~73 (7th Cir. 1957), Davis v
                         Turner, 197 F2d 847 (5th Clf. 1952); Downie v. Powers. 193 F 2d 760 (10th Cir 1951J

              871        The undisputed facts show that about 9:00 P M on the evening of September 18. 1968,
                         Arroyo was driving east on Crescent Street at a speed of 45 m. p. h. in his Chevrolet car
                         although he had no license to drive. He failed to slow down when he came to the stop sign at
                         the intersection of Pembroke Street and collided With a car which had just entered the



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Arroyo v. Walsh, 317 F. Supp. 869 - Dist. Court, D. Connecticut 1970 '"    http://scholar.google.comlscholar~case?case=11092605757018044:



                        intersection from Pembroke. Arroyo's car careened ahead at about 30 miles an hour until it
                        came to a stop near a telephone pole 452 feet from the point of collision. Because of damage
                        to the car, it could go no further. Vida and Lorenzo had been following Arroyo's car and when
                        they drew up alongside they proceeded to arrest Arroyo.. While the manner of Arroyo's leaving
                        his car and *871 his conduct immediately thereafter is in dispute, it is agreed that Arroyo was
                        subdued, handcuffed and placed in the rear seat of the police car. The police called for an
                        ambulance and then returned to the scene of the collision. Arroyo was then placed in the
                        ambulance and taken to the Bridgeport Hospital where hI! was x-rayed and the doctor in
                        attendance found that Arroyo had a comminuted fracture of the nose, the bone having been
                        shattered into many little sharp pieces, and five stitches were needed to close the wound.

                        The offICers filed charges against Arroyo for resisting arrest, Conn.G.S. § 53-165; evading
                        responsibility, Conn.G. S. § 14-224; running through a stop sign, Conn.G.S. § 14-301; driving
                        without a license, Conn.G.S. § 14-36(a); and driving with faulty equipment, Conn. G.S. §
                        14-80. He was released on $450 bail sometime in the morning. Some months later, on
                        February 13, 1969, apparently because the police or the city counsel failed to supply
                        particulars in response to a motion made by Arroyo's attorney, the charges were dismissed.
                        In view of Arroyo's admission that he was driving in excess of the speed limit, that he had no
                        license to drive and that he failed to stop at the stop sign, the failure to supply particulars and
                        prosecute the charges seems incomprehensible. Within a few days after the charges had
                        been dismissed, Arroyo gave the City Clerk of Bridgeport a Notice of Intention to bring an
                        action, and this action was commenced on April 23, 1969,

                        The testimony of Arroyo and that of a bystander, Johnny Garcia, differs sharply from that
                        given by Vida and Lorenzo regarding Arroyo's treatment by the two police officers. Arroyo,
                        who was 19 years old at the time of the accident, came to the United States from Puerto Rico
                        in April 1967 and lived with his grandmother and his uncle in September 1968. He testified
                        through an interpreter as it was apparent that his understslnding of English was still somewhat
                        limited at the time of trial in May 1970. Arroyo concedes that on the evening of September 18
                        he was drMng about 45 m. p. h. on Crescent Street. As he came to the stop sign at the
                        intersection of Pembroke Street he put his foot on the bral(e but the car did not stop; he then
                        collided with James Brasiers car in the middle of the intersection. Arroyo said he was not
                        injured by the crash into Brasiel's car; he did not have the seat belt on, and the windshield was
                        not broken. Hs car veered but kept going on Crescent Stn!et until it came to a stop against a
                        pole near the curb. At that point the car could no longer be driven.

                       Although he had no wounds and was not bleeding, Arroyo ltelt dizzy. The two policemen came
                       alongside and took him out of the car. They beat him with their fists and broke his watch. They
                       handcuffed his hands behind his back, took him by the hair and smashed his face against the
                       glass of the back window of his car, and then put him in thE! police car. The driver of the car,
                       whom Arroyo identified as Vida, hit him on the nose with a short club and said "I feel like killing
                       you as though you were a dog." By this time Arroyo was bleeding from his face and nose.
                       Almost immediately after he was taken back to the intersection an ambulance arrived and he
                       was taken to the hospital where he was x-rayed and five stitches were taken in his nose.

                       Johnny Garcia, a disinterested bystander, supported Arroyc)'s account of his treatment by
                       Vida and Lorenzo. Garcia, who was 16 at the time, also testified through an interpreter. He
                       saw the cars hit and he then ran after Arroyo's car. Vida and Lorenzo were already there
                       when he got to Arroyo's car which had stopped when it hit the pole. He testified that they got
                       out of their car, opened the door of Arroyo's car and took him out "like a dog;" they beat him
                       with their fists, kicked him many times, handcuffed him and threw him in the back of their car.
                       One of the police said to him "I feel like killing you, you _ _ing Puerto Rican" and swung at
             872       him with something. Arroyo's face *872 "looked like a Roman candle" and he was "bleeding all
                       over the place." After the police left with Arroyo. Garcia looked at Arroyo's car and saw n(l
                       blood in the car. Garcia had not known Arroyo but someone at the scene told him where
                       Arroyo lived and he went there and saw Arroyo's uncle whom he did know.

                       Lorenzo and Vida gave quite a different version of Arroyo's arrest. Lorenzo, who had been on
                       the force for eleven months, testified that he was riding with Vida in a police car. just in back
                       of Arroyo's car, at it went at 45 to 50 m. p. h. and failed to stop or slow down at the Crescent



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Arroyo v. Walsh, 317 F. Supp. 869 - Dist. Court, D. Connecticut 1970...   http://scholar.google.com/scholar_case?case= II 092605757018044


                       Street stop sign. They saw the collision and followed Arroyo as his car came to a stop near
                       the curb. Lorenzo got out, ran to Arroyo's car and asked him for his driver's license. Arroyo,
                       who "was just sitting there," seemed dazed. Then Arroyo, who was bleeding, swung open the
                       car door which hit Lorenzo in the chest, knocking him down. Arroyo tried to get away but
                       Lorenzo and Vida subdued him, put him over the trunk of his car and handcuffed him. Arroyo's
                       face was bleeding and there was blood on the windshield. They did not strike or kick Arroyo.
                       They placed him on the back seat of the police car. Vida used the radio phone and asked for
                       an ambulance and they drove back to the intersection where lorenzo got into another police
                       car and went to Bridgeport Hospital for treatment of a sprained ankle. In the casualty report
                       made out on September 18, 1969 at 10:40 P.M. it was noted that lorenzo "received injuries in
                       the scuffle." Lorenzo said that the steering wheel of Arroyo's car looked "pushed up forward"
                       and there was a cob-web like crack in his windshield. lorenzo saw blood on the windshield
                       and steering wheel. lorenzo's accident report made no mention of these facts nor did he
                       report Arroyo's injury.

                        Vida testified that he was driving the police car. lorenzo was the first out of the police car,
                        and as he approached Arroyo's car, Arroyo slammed the door into him and tried to get away.
                        lorenzo fell on his side, breaking his fall with his right hand injuring his knuckles and twisting
                        his ankle. Vida is 6' 2", weighs 215 pounds, plays semi-pro football and is a weight lifter.
                        Arroyo is slightly built and considerably shorter. Vida said that Arroyo ran into him and he used
                        a bear hug to subdue Arroyo. Vida then put handcuffs on Arroyo. During the scuffle, Vida got
                        blood on his hands but not on his clothes. Vida testified he did not see Arroyo strike arry part
                        of his body in the collision but he did see a break in Arroyl'J's windshield directly over the
                        steering wheel which was bent; further he testified there was blood on the steering wheel and
                        inside the windshield. Vida, like lorenzo, made no mention of these factors in his report of
                        September 18. Vida also testified that lorenzo had a night stick but that he himself did not
                        carry one.

                       Police offICer Robert Moore who came to investigate said he remembered a hair line crack on
                       the windshield of Arroyo's car. blood on the steering wheel and he thought there was some
                       blood on the windshield. Sergeant Murray also remembered that Arroyo's windshield was
                       cracked and shattered. No police record made at the time contained arry reference to the
                       condition of Arroyo's car. The first time the condition is reported is in the reports made in
                       March and April 1969. by Vida and Lorenzo, at the request of Inspector lealy and Captains
                       Bergers and McPadden of the Bridgeport Police Department, after this suit had been brought.

                        From the demeanor of the witnesses and the evidence given. I credit the testimorry of Arroyo
                       and Garcia that Arroyo's nose was broken by a blow from lorenzo's night stick wielded by
                       Vida. It is quite understandable that Vida and Lorenzo thought they might have trouble
                        subduing Arroyo who had just driven through a stop sign, collided with another car and
                       proceeded ahead for 150 yards before stopping. Although the defense of good faith and
                       probable cause is available to the defendants under 42 U.S.C. § 1983, Pierson v. Ray, 386
              873      U.S. 547, 87 '873 S.Ct. 1213, 18 L.Ed.2d 288 (1967), I find their arguments unpersuasive on
                       this record. It is hard to believe that Arroyo, in a dazed and shaken condition from the
                       collision, could have tried to flee or resist two police officers. Indeed, if one credits the
                       defendants' theory that Arroyo's nose was already broken as a result of the collision, the
                       testimorry of Vida and Lorenzo seems all the more unlikely. Moreover, it does not seem
                       probable that Arroyo's nose was broken as a result of the cl'Jllision with Brasiel's car as he
                       showed no signs of any other face injuries when examined by the doctor. Whatever scuffle
                       may have taken place and whatever resistance Arroyo may have offered, I must conclude that
                       the officers used force well in excess of what was reasonably required. Moreover. there was
                       no need to use any force once he was handcuffed and placed in the police car. The use of
                       excessive force and the blow from the night stick. for all of which both Vida and Lorenzo must
                       be held responsible, was a violation of Arroyo's civ;I rights.

                       Although counsel for Arroyo has requested that counsel fees be awarded, the court is not
                       disposed to award counsel fees in a case which is essentially a simple tort action arising from
                       a single incident affecting but one person. See MaleL Br~win~~~EJelsc/Jrna[!rtJ)istllling
                       Corp.. 359 F 2d 156 (9th etf 1966), affd 386 U.S. 714 87 S~14Q4, 18l.Ed.2d 475
                       ~: Williams v. Kimbroygh, 295 F Supp 578 (0. La~. Those cases which counsel
Arroyo v. Walsh, 317 F. Supp. 869 - Dist. Court, D. Connecticut 1970 ...                    http://scholar.google.comtscholar_case?case=11 0926057570 1804


                        cites do not support his position as they are cases of long and continuous discrimination
                        involving considerable numbers of people. The request for counsel fees is therefore denied.

                        In sum, I find that Arroyo has shown that his civil rights were violated by the unnecessary use
                        of excessive force by Vida and Lorenzo. Monroe v. Pape. sypra. Arroyo, who was earning
                        approximately $165 per week, lost eight days of work i:!S a direct result of the injuries
                        sustained in the incident. He also paid a total of $12 in doctor bills for two visits to a doctor.
                        As compensation for his lost wages, doctor bills and pain and suffering he should have
                        judgment in the sum of $2.500. See Rhoades v. Horvat. 270 F.Supp. 307 (D.Colo.1967);
                        McArthur v. Pennington, 253 E. Supp. 420 (E. D. Tenn. 19.6.3}; Antelope v. George. 211 F. Supp.
                        657 (O.ldaho 1962).

                        Pursuant to Rule 52(a) of the Federal Rules of Civil Procedure, this opinion constitutes the
                        court's findings of fact and conclusions of law.

                       The Clerk is directed to enter judgment in favor of the plaintiff and against defendants Vida
                       and Lorenzo, and dismissing the complaint as to all other defendants.
                       Ll Of tile United States Court of AppealS for the Second Circuit. sitting by designation.




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